 8:06-cr-00304-LSC-TDT              Doc # 122    Filed: 02/28/07    Page 1 of 1 - Page ID # 350




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )
       vs.                                         )                  8:06CR402
                                                   )
JOSE ESTRADA-MENDEZ and                            )                    ORDER
JOSE GALVAN-GODINEZ,                               )
                                                   )
                       Defendants.                 )


        This matter is before the court on the motion of Jose Estrada-Mendez to continue the trial
currently set for March 6, 2007. Defendant requests the continuance due to counsel's scheduling
conflict. For good cause shown, I find that the matter should be continued to March 27, 2007.

       IT IS ORDERED that the Motion [121] is granted, as follows:

        1. The above-entitled case is scheduled for a jury trial before the Honorable Laurie Smith
Camp, District Court Judge, to begin Tuesday, March 27, 2007 at 9:00 a.m. in Courtroom No. 2,
Third Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska;
because this is a criminal case, defendant(s) must be present in person. Counsel will receive more
specific information regarding the order of trial from Judge Smith Camp’s staff.

       2. Counsel for the United States shall confer with defense counsel and, no later than March
20, 2007, advise the court of the anticipated length of trial.

        3. In accordance with 18 U.S.C. § 3161(h)(A), I find that the ends of justice will be served
by granting such motion and outweigh the interests of the public and the defendant in a speedy trial.
The additional time arising as a result of the granting of the motion, i.e., the time between March
6, 2007 and March 27, 2007, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act, 18 U.S.C. § 3161 because counsel require more time to
effectively prepare the case, taking into account the exercise of due diligence. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       4. This order applies to all defendants.

       DATED February 28, 2007.

                                                BY THE COURT:

                                                s/ F.A. Gossett
                                                United States Magistrate Judge
